Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 1 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 2 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 3 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 4 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 5 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 6 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 7 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 8 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                           Document Page 9 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                          Document Page 10 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                          Document Page 11 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                          Document Page 12 of 13
Case:16-08404-MCF12 Doc#:184 Filed:11/29/19 Entered:11/29/19 09:23:20   Desc: Main
                          Document Page 13 of 13
